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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

United States of America,
                                              Case No. 21-cr-20184
             Plaintiff,
v.                                            Hon. Shalina D. Kumar
                                              United States District Judge
D-1 Michael Fraley, Jr.,

             Defendant.




             United States of America’s Sentencing Memorandum


       The numbers tell the story. This case represents, at least, defendant Michael

Fraley’s ninth felony conviction. That is on top of more than 30 prior misdemeanor

convictions. Even after serving 27 county jail terms and four prison terms, he

continues to commit more crimes. As part of his drug trafficking scheme, Fraley

possessed 12 grams of pure methamphetamine with the intent to distribute when

the police searched his house under a warrant. The Court’s sentence for his drug

trafficking conviction must account for his two decades of unrelenting criminal

conduct. In light of the factors set forth in 18 U.S.C. § 3553(a), the United States

seeks a sentence of 137 months’ imprisonment, which is at the top of the

applicable guideline range.
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I.    Sentence Considerations

      In determining defendant’s sentence, the Court must consider the “nature

and circumstances of the offense and the history and characteristics of the

defendant.” 18 U.S.C. § 3553(a)(1). The sentence should reflect the seriousness of

the offense, promote respect for the law, provide just punishment, afford adequate

deterrence, and protect the public from further crimes by the defendant, among

other factors. 18 U.S.C. § 3553(a)(2). Although advisory, the sentencing guidelines

are the “starting point” and “initial benchmark” for the sentence, which should be

sufficient, but not greater than necessary to comply with the purposes of § 3553(a)

(2). United States v. Booker, 543 U.S. 220 (2005); Gall v. United States, 552 U.S.

38, 49 (2007).

      A.     Sentencing Guidelines Calculations.

      Fraley has pled guilty to possessing with the intent to distribute five grams

or more of methamphetamine. (PSR ¶¶ 7, 9). The presentence investigation report

calculates the sentencing guidelines rage at 110–137 months. (PSR ¶ 95). The

government agrees with this calculation. The total offense level is 25 due to a base

offense level of 28, reduced by three levels for acceptance of responsibility. (PSR

¶¶ 23, 30–32, 97). Fraley’s lengthy criminal history yields a criminal history

category of VI. (PSR ¶¶ 57–59). A total offense level of 25 combined with




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criminal history category VI results in a guideline range of 110–137 months. (PSR

¶ 95).

         B.    The Nature of the Offense.

         On March 24, 2020, inside his house in Flint, Fraley knowingly possessed

about 12 grams of actual methamphetamine that he intended on distributing to

others. (ECF No. 91, PageID.374–75.) At this same time and place, police officers

executed a search warrant. (Id.). As the officers entered his house, Fraley

attempted to flush the baggie of methamphetamine down the toilet. (Id.). An

officer seized the baggie and later sent it to a DEA laboratory for chemical testing.

(Id.). A DEA forensic chemist determined that the substance was 12.4 grams of

pure methamphetamine, a Schedule II controlled substance. (Id.).

         Inside the house, officers seized drug-trafficking materials and proceeds:

two digital scales, one 100-gram calibration weight, baggies and packaging

materials, and $1,584 in cash. (Id.). Officers interviewed Fraley, who told them

about his use and distribution of drugs:




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                                                                        (Exhibit 1).

Fraley was on parole when he was drug trafficking. (PSR ¶ 58).

      C.     Relevant Conduct

      The PSR correctly includes the amount of methamphetamine that Fraley

distributed to a confidential source (“CS”) as relevant conduct. (PSR ¶¶ 14, 18, 23,

97). The guideline section for possessing methamphetamine with the intent to

distribute is USSG § 2D1.1. (PSR ¶ 23). This offense encompasses both the

offense of conviction and all relevant conduct under USSG § 1B1.3, unless a

different meaning is specified. USSG § 1B.1, App. Note 1(I). The offense of

conviction occurred on March 24, 2020. (PSR ¶ 7). “Relevant conduct is not

limited to conduct for which the defendant has been convicted.” United States v.

Maken, 510 F.3d 654, 658 (6th Cir. 2007) (citing United States v. Pierce, 17 F.3d

146, 150 (6th Cir. 1994).




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      Relevant conduct includes specified crimes that are similar to—but not a

part of—the offense of conviction. USSG § 1B1.3(a)(2). These specified crimes,

listed in USSG § 3D1.2(d) for grouping purposes, are ones in which offense levels

are largely determined based on “the quantity of a substance involved.” Fraley’s

offense is one of these specified crimes because the offense level is determined, in

part, by the quantity of the substance involved under the Drug Quantity Table.

USSG § 2D1.1(a)(5)(c).

      For these § 2D1.1 offenses that require grouping of multiple counts under

USSG § 3D1.2(d), “all acts” described in § 1B1.3(a)(1)(A) “that were part of the

same course of conduct or common scheme or plan as the offense of conviction”

are included as relevant conduct. USSG § 1B1.3(a)(2). For two or more offenses to

constitute a common scheme or plan, they must be substantially connected to each

other by at least one common factor: common victims, common accomplices,

common purpose, or similar modus operandi. USSG §1B1.3, App. Note 5(B)(i).

“As the guidelines explain, ‘quantities and types of drugs not specified in the count

of conviction’ must be included in the drug-quantity equation ‘if they were part of

the same course of conduct or part of a common scheme or plan as the count of

conviction.’ ” United States v. Easley, 306 Fed. Appx. 993, 995 (6th Cir. 2009)

(citation omitted) (holding that the district court correctly included the defendant’s




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earlier drug transactions in its drug-quantity calculation based on the defendant’s

own description of them that “establishe[d] their similarity and regularity.”).

      On December 1, 2020, a CS told law enforcement officers that he could buy

methamphetamine from Fraley. (PSR ¶ 14; Exhibit 2). Officers then set up a

controlled buy at a house on Remington that Fraley was staying at. (Id.). They gave

the CS money to buy methamphetamine. (Id.). After exchanging the money for the

methamphetamine, the CS met with the officers and “advised ‘Sarge’ [Fraley] sold

him/her the methamphetamine and that Alexandria Dodge (Allie) was present.”

(Id.). According to the laboratory report, the amount of pure methamphetamine

was 25 grams. (Exhibit 2).

      Officers arrested Fraley about three months later and interviewed him. (PSR

¶ 17). By his own admission, Fraley had continued to deal drugs:




                                                                         (Exhibit 3).
      The evidence shows by a preponderance that Fraley distributed

methamphetamine to the CS on December 1, 2020. By his own admission, eight

months earlier, he was selling a gram or two of methamphetamine daily, leading to

the search of his house. (ECF No. 91, PageID.374–75.) On December 1, 2020, the

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CS immediately identified Fraley as the person who sold him the

methamphetamine. (Exhibit 2). About three months later, in March 2021, Fraley

admitted that he had been selling eight balls and ounces of methamphetamine, and

has been addicted to it for a couple of years. (Exhibit 3). Fraley’s two admissions

to selling methamphetamine—on an ongoing basis—bookend his delivery of

methamphetamine to the CS on December 1, 2020. In light of this evidence, his

claim of “mere presence” is not credible. (ECF No. 112, PageID.591.)

      This evidence presents a classic case of common purpose and common

scheme. In affirming the district court’s finding that relevant conduct applied to

admitted, non-charged acts of drug distribution, the Sixth Circuit explained that

“Henderson’s drug trafficking activities during 1995 and 1999 are essentially

indistinguishable. According to his own statement, Henderson dealt in cocaine in

1995 up until his 1996 incarceration, and he continued to deal similarly soon after

his release in 1998. The twenty-three month break in business occurred only

because he was “forced to put the venture ‘on hold.’ ” Id. at 1483. Under these

circumstances, the district court did not err in finding that the guideline factors

weigh in favor of a finding that Henderson’s 1995-1996 conduct constituted the

“same course of conduct” as the offenses of his conviction.” United States v.

Henderson, 17 Fed. Appx. 362, 367 (6th Cir. 2001). By Fraley’s own admission,

he was addicted to methamphetamine and “trying to kick the dope but he can’t.”


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(See also, PSR ¶ 85). So, like many other addicts, his scheme and purpose were to

sell methamphetamine to support the habit that he could not kick. The individual

amounts of methamphetamine that he distributed along the way—to fund his

habit—are properly understood as part of the same course of conduct. This is all

strong evidence that relevant conduct applies here.

      D.     History and Characteristics.

      Fraley criminal history is astounding. From a broad perspective, Fraley has

amassed 9 prior felony convictions and 35 prior misdemeanor ones. (Exhibit 4:

2019 State PSR, at 3)1 (filed under seal). He has “served 27 county jail terms, four

terms with the Michigan Department of Corrections and failed at community

supervision both on probation and parole.” (Id.). Exhibit 4 identifies five

convictions for assault and battery. (Id. at 8–12). In one case he struck his ex-

girlfriend “in the back of the head, causing injury.” (Id. at 11). Exhibit 4 also

shows assaultive conduct as a juvenile, and many violations of probation or parole.

      Paragraphs 33–56 of Fraley’s federal Presentence Report chronicle his long

list of crimes. (ECF No. 100, PageID.525–542.) He has repeatedly violated terms

of supervision, absconded while under supervision, and tampered with an

electronic monitoring devices. (Id. at 533–36, 540, 542.) Over the past 20 years,


1. The 2019 State PSR reaches back further in time and captures more criminal
history than does his federal PSR (ECF No. 100).

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Fraley has committed aggravated domestic violence, drunk driving, resisting and

obstructing arrest, larceny from a person, larceny from a motor vehicle, receiving

and concealing a stolen car, among other crimes. (Id. at 525–542.) His conduct in

prison has been concerning too. In 2017–2018, he incurred “11 misconducts while

incarcerated (7 for destruction or misuse of property, 3 for interference with

administration of rules and 1 for possession of dangerous contraband.” (Ex. 4, at

24).

       His affiliation with the Spanish Cobras gang may explain some of his

eagerness to commit crimes. The CS identified Fraley as a gang member. (PSR ¶

14). Fraley reports becoming a member in his youth. (PSR ¶ 71). He has a gang-

related tattoo on his face. (PSR ¶ 76.).

       His history and characteristics show an entrenched disrespect for the law and

no signs of changing. His conduct shows that he is immune to deterrence. His 40+

criminal convictions require—at a minimum—a sentence within the applicable

guideline range. Enough is enough. This type of sustained criminal conduct over

two decades is an outlier among criminal defendants.

       E.    Seriousness of the offense, deterrence, and protection of the
             public.

       Trafficking over five grams of actual methamphetamine is a serious offense

carrying a minimum sentence of five years and a maximum punishment of 40 years

in prison. Methamphetamine is a highly addictive and harmful substance that often
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ruins the lives of those held in its grip. “Chronic meth users can exhibit violent

behavior, anxiety, confusion, insomnia, and psychotic features including paranoia,

aggression, visual and auditory hallucinations, mood disturbances, and delusions

— such as the sensation of insects creeping on or under the skin.” Drug Fact Sheet:

Methamphetamine (dea.gov). Fraley sought to fund his lifestyle and finance his

addiction by distributing this poison to his customers, harming them and their

families. Distribution of illegal, destructive drugs causes damage to the

community: “Society as a whole is the victim when illegal drugs are being

distributed in its communities.” United States v. Green, 532 F.3d 538, 549 (6th Cir.

2008); United States v. Hodges, 641 F. App’x 529, 532 (6th Cir. 2016).

      Congress has determined that a sentence of five years in prison is the

minimum any defendant should receive for distributing more than five grams of

methamphetamine. Even those without a criminal history. Fraley occupies the

extreme other end of this continuum. Although Fraley appears to be immune to

deterrence, a 137-month sentence will show other would-be drug dealers that

distributing large amounts of methamphetamine has “real” consequences, thus

advancing the goal of general deterrence.

      A sentence within the guidelines is necessary to promote respect for the law,

provide deterrence and just punishment, and protect the public from Fraley

committing additional crimes. “Not all [§ 3553(a) factors] are important in every


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sentencing; often one or two prevail, while others pale.” United States v.

Bridgewater, 479 F.3d 439, 442 (6th Cir. 2007). Protecting the public should be

one of the prevailing factors here because Fraley is likely to reoffend soon after his

release.

II.   Conclusion

      The government recommends a sentence of 137 months based on the factors

set forth in 18 U.S.C. § 3553(a). The government also requests a minimum term of

four years supervision to follow any term of incarceration.

                                       Respectfully submitted,


                                       Dawn N. Ison
                                       United States Attorney

Dated: July 10, 2023                   s/Blaine Longsworth
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                         CERTIFICATION OF SERVICE

      I hereby certify that on, July 10, 2023, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will

electronically serve all ECF participants.




                                                  s/Kristi Bashaw
                                                  United States Attorney’s Office




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